
SCHAUER, J.
The parties and the issues concerned in this appeal are the same as those involved in Estate of Dabney (1951), ante, p. 402 [234 P.2d 962], in which we ordered dismissal of the appeal.
Here, Clifford and Alice Dabney appeal from an order of ratable distribution entered February 6, 1951, in the above entitled estate, to which they had objected in the probate court on the ground that as claimants adversely to the estate in their equitable suit (Los Angeles superior court action No. 569707, which is adequately discussed in the cited opinion) they were “persons interested in the estate” within the meaning of sections 1010 and 1011 of the Probate Code.
• For the reasons stated in the cited opinion and on the authority thereof, this appeal is' also dismissed.
Gibson, C. J., Shenk, J., Edmonds, J., Carter, J., Traynor, J., and Spence, J., concurred.
